Case 2:85-cv-04544-DMG-AGR Document 481 Filed 08/24/18 Page 1 of 7 Page ID #:24646




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                           UNITED STATES DISTRICT COURT
14                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
15

16   JENNY LISETTE FLORES, et al.,         )      Case No. CV 85-4544 DMG (AGRx) 
                                           )
17          Plaintiffs,                    )      PLAINTIFFS’ MEMORANDUM RE CBP
18   - vs -                                )      FACILITIES SUBJECT TO MONITORING
                                           )
19   JEFFERSON B. SESSIONS, ATTORNEY       )
20   GENERAL OF THE UNITED STATES, et al., )
                                           )
21          Defendants.                    )
22                                         )      HEARING: N/A
23   _
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Case 2:85-cv-04544-DMG-AGR Document 481 Filed 08/24/18 Page 2 of 7 Page ID #:24647


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2    Plaintiffs’ counsel, continued
     :
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     Memorandum re CBP Facilities to Monitor                  CV 85-4544 DMG
                                               ii
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1          Because Plaintiffs’ evidence in support of its motion to compel relating to
2    conditions in Customs and Border Protection (CBP) facilities largely focused at the
3
     time on CBP facilities in the Rio Grande Valley Sector (“RGV Sector”) where
4

5    Plaintiffs’ monitoring took place, this Courts June 2017 Order [Dkt. # 363] limited its
6
     finding of noncompliance to those CBP facilities:
7
           Though Plaintiffs have submitted a plethora of detainee declarations in
8

9          support of their motion, the Court notes that the overwhelming majority of
10
           them come from detainees who stayed at CBP stations located within the
11
           Rio Grande Valley Sector (“RGV Sector”). One or two declarations from
12

13         detainees located within other sectors that span over one hundred miles
14
           and have multiple CBP stations is not enough to satisfy the preponderance
15
           of the evidence standard regarding the conditions at those facilities.
16

17         As such, the Court limits its discussion of conditions and the scope of any
18
           resultant monitoring [by a newly appointed CBP monitor] to those CBP
19
           facilities located within the RGV Sector … While the Court certainly did
20
21         not limit the scope of its August 21, 2015 Order in this way, there is
22
           insufficient evidence to suggest that any other CBP stations in locales
23
           outside of the RGV Sector have failed to comply with the Court’s earlier
24

25         order that they should “comply with the Agreement and Defendants’ own
26
           acknowledged standards and procedures.” 212 F. Supp. 3d at 915.
27
28
     June 2017 Order [Dkt. # 363] at 8.


     MEMORANDUM RE CBP FACILITIES TO MONITOR                                   CV 85-4544 DMG
                                                1
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1          Based upon the over 200 declarations obtained in June and July 2018 as a
2    result of Plaintiffs’ monitoring and filed with Plaintiffs’ Memorandum Re Status
3
     Conference and Response to Third Government Monitors’ Reports [Dkt. # 462],
4

5    there is ample unrefuted evidence of ongoing and widespread violations of the
6
     Agreement in five additional CBP facilities. Id. Numerous declarations evidencing
7
     persistent non-compliance were executed by Class Members and their parents
8

9    detained in the following Border Patrol stations: El Centro, Chula Vista, and San
10
     Ysidro, California; Santa Teresa, New Mexico; Yuma and the Tucson
11
     Coordination Center, Arizona. These facilities are relatively small and easily
12

13   subject to monitoring.
14
           As the filed declarations disclose, Class Members and their parents detained
15
     in these CBP facilities consistently report that they are not fed sufficient amounts
16

17   of food, food has been served in an inedible condition, either spoiled or partially
18
     frozen, available water is highly chlorinated and not drinkable, Class Members are
19
     held in unsanitary cells, they suffer sleep deprivation because of lack of mats,
20
21   blankets and because of overcrowding, room temperatures are extremely cold, and
22
     Class Members have not been provided with notice of their rights. These are
23
     precisely the same non-compliance issues Class Members have testified to in the
24

25   RVG Sector and that are addressed in the Court’s August 21, 2015 Order [Dkt. #
26
     189] and its June 2017 Order [Dkt. #363]. See, e.g., Plaintiffs’ Exhibits 23, 31-32,
27
28
     39-43, 45, 47, 49-56, 59-61, 63, and 65 (32 declarations re CBP El Centro) [Dkt.


     MEMORANDUM RE CBP FACILITIES TO MONITOR                                   CV 85-4544 DMG
                                                 2
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1    ## 462-3, 462-4, 462-5]; Plaintiffs’ Exhibits 28, 34, 44, 129-148 (24 declarations
2    re CBP San Ysidro Land Port of Entry) [Dkt. ## 462-3, 462-4, 462-8, 462-9];
3
     Plaintiffs’ Exhibits 38, 149-52 (six declarations re CBP Chula Vista Station) [Dkt.
4

5    ## 462-4, 462-9]; Plaintiffs’ Exhibits 153, 197, 216, 217 (4 declarations re CBP
6
     Santa Teresa Station) [Dkt. ## 462-9, 462-11, 462-12]; Plaintiffs’ Exhibits 26 and
7
     67-82 (17 declarations re CBP Tucson Coordination Center) [Dkt. ## 462-3, 462-5,
8

9    462-6]; Plaintiffs’ Exhibits 103-128 (26 declarations re CBP Yuma Station) [Dkt.
10
     ## 462-7, 462-8].1
11
           Defendants’ CBP Juvenile Coordinator also monitored and reported on CBP
12

13   facilities outside of the Rio Grande Sector, including CBP stations where
14
     Plaintiffs’ declarations were executed in Sante Teresa, Yuma, Chula Vista, and the
15
     CBP San Ysidro Land Port of Entry, and CBP’s Management Inspections Division
16

17   of the Office of Accountability also saw fit to monitor the Tucson Coordination
18
     Center as well as the CBP stations identified above. See U.S. CBP Juvenile
19
     Coordinator Report [Dkt. # 430-1], at 5, 16, 22, 24, 29, 30, 31.
20
21

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           ///
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28   1Plaintiffs have prepared examples by way of excerpts of these declarations filed
     herewith Exhibit 1.
     MEMORANDUM RE CBP FACILITIES TO MONITOR                                 CV 85-4544 DMG
                                                3
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1          Based on the foregoing, Plaintiffs request that the Court authorize the
2    Special Master to monitor the limited number of CBP facilities identified above
3
     where the record makes clear monitoring is required.
4

5

6
     Dated: August 24, 2018                    Respectfully submitted,
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8
                                               CENTER FOR HUMAN RIGHTS &
9                                              CONSTITUTIONAL LAW
                                               Peter A. Schey
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                                               Carlos Holguín
11
                                               ORRICK, HERRINGTON & SUTCLIFFE LLP
12                                             Elena García
13
                                               LA RAZA CENTRO LEGAL, INC.
14                                             Michael Sorgen
15
                                               LAW FOUNDATION OF SILICON VALLEY -
16                                             LEGAL ADVOCATES FOR CHILDREN & YOUTH
                                               Jennifer Kelleher Cloyd
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                                               Katherine H. Manning
18                                             Annette Kirkham
19                                             Of counsel:
20
                                               YOUTH LAW CENTER
21                                             Virginia Corrigan
22

23                                             /s/Peter Schey
                                               Attorneys for Plaintiffs
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     MEMORANDUM RE CBP FACILITIES TO MONITOR                                  CV 85-4544 DMG
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                                     CERTIFICATE OF SERVICE
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5          I, Peter Schey, declare and say as follows:
6
           I am over the age of eighteen years of age and am a party to this action. I am
7
     employed in the County of Los Angeles, State of California. My business address is
8

9    256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.  
10
           On August 24, 2018, I electronically filed the following document(s):
11

12
        • PLAINTIFFS’ MEMORANDUM RE CBP FACILITIES SUBJECT TO MONITORING
13

14
     with the United States District Court, Central District of California by using the
15

16
     CM/ECF system. Participants in the case who are registered CM/ECF users will be

17   served by the CM/ECF system.
18
                                                     /s/Peter Schey
19                                                   Attorney for Plaintiffs
20
21

22

23

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     MEMORANDUM RE CBP FACILITIES TO MONITOR                                   CV 85-4544 DMG
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